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19

20                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
21                                 SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                Case No. CV 10-03561 WHA

23                     Plaintiff,                        SUPPLEMENTAL REQUEST AND
                                                         [PROPOSED] ORDER REGARDING
24          v.                                           COURTROOM EQUIPMENT FOR
                                                         APRIL 6, 2011 TUTORIAL
25   GOOGLE INC.
                                                         Date: April 6, 2011
26                     Defendant.                        Time: 1:30 p.m.
                                                         Dept.: Courtroom 9, 19th Floor
27                                                       Judge: Honorable William H. Alsup

28
     SUPPLEMENTAL REQUEST & [PROPOSED] ORDER RE COURTROOM EQUIPMENT FOR 4/6/11 TUTORIAL
     CASE NO. CV 10-03561 WHA
     pa-1456728
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 1          Plaintiff Oracle America, Inc. (“Oracle”) respectfully requests permission, pursuant to
 2   General Order No. 58, for the parties to bring into Courtroom 9 the following equipment into the
 3   courthouse, and to possess and use that equipment in the courtroom during the Claim
 4   Construction Technical Tutorial, scheduled for Wednesday, April 6, 2011, at 1:30 p.m. This
 5   supplemental request is being made in response to a phone call from William Noble, Docket
 6   Clerk for the Hon. William H. Alsup and supersedes the request filed at Dkt. 105.
 7          The specific devices are as follows:
 8          1.      1 50” Plasma Screen
 9          2.      1 Dual Post Stand
10          3.      1 data projector
11          4.      1 7.5’x10’ projector screen
12          5.      1 video switch box
13          6.      2 cart / stands
14          7.      4 laptop computers
15          8.      cables, peripherals, and power cords for the foregoing equipment
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17          The parties are coordinating their efforts and will share the presentation equipment.
18          Oracle further requests the Court’s permission for the parties to set up their respective
19   electronic devices in the courtroom on Wednesday, April 6, 2011, at 12:00 p.m., or at such time
20   the Court may specify, to facilitate the timely and orderly conduct of the hearing.
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     SUPPLEMENTAL REQUEST & [PROPOSED] ORDER RE COURTROOM EQUIPMENT FOR 4/6/11 TUTORIAL                 1
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 1
     Dated: April 5, 2011                        MICHAEL A. JACOBS
 2                                               MARC DAVID PETERS
                                                 DANIEL P. MUINO
 3                                               MORRISON & FOERSTER LLP
 4
                                                 By: /s/ Richard S. Ballinger
 5                                                       Richard S. Ballinger
 6                                                      Attorneys for Plaintiff
                                                        ORACLE AMERICA, INC.
 7

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 9                                              ORDER
10          For good cause shown, the foregoing requests are GRANTED.
11   IT IS SO ORDERED.
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14                5 2011
     DATED: April __,
15                                                 THE HONORABLE WILLIAM H. ALSUP
                                                        United States District Judge
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     SUPPLEMENTAL REQUEST & [PROPOSED] ORDER RE COURTROOM EQUIPMENT FOR 4/6/11 TUTORIAL   2
     CASE NO. CV 10-03561 WHA
     pa-1456728
